 

Case 17-35623 Document 843 Filed in TXSB on 10/17/19 Page 1 of 1

 

 

 

 

 

 

In re: Offshore Specialty Fabricators Liquidating Trust Post-Confirmation Status Report
Debtor Chapter 11 Case No: 17-35623 Quarter Ending: September 2019 __
Attomey/Professional - Name, Address, Phone, FAX & Email: | Person responsible for report: Name, Address, Phone, FAX & Email:
Diamond McCarthy LLP David Weinhoffer, Liquidating Trustee

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SUMMARY OF DISBURSEMENTS MADE DURING THE QUARTER

 

Disbursements made under the Plan: Payments to Professionals: $ 17,346.86
Payments to Secured Creditors: $
Payments to Priority Creditors: $
Payments to Unsecured Creditors: $ 22,232.00
Payments to Equity: $
All other plan payments: $
TOTAL OF PLAN PAYMENTS: $ 39,578.86

 

 

 

Disbursements from Operations: $ 45,570.96

 

 

 

 

TOTAL ALL DISBURSEMENTS $ 85,149.82

 

 

Date Order was entered confirming plan? October 26, 2018

 

Who is the Disbursing Agent (if any)?

 

Yes
Current with Plan Payments? Why not?

 

Unknown
Projected date for final decree?

 

What needs to be achieved before a final decree
will be sought (attach a separate sheet if
necessary)?

 

Provide a narrative of events that impact upon the
ability to perform under the reorganization plan or
other significant events that occurred during the
reporting period (attach a separate sheet if

necessary).

 

July 1, 2019
Date last U.S. Trustee fee paid?

 

 

 

Amount Paid? $ 4,875.00

 

I declare under penalty of perjury that the information contained in the document is true, complete and correct.

_October 17, 2019 ~ Wok (J eonh/ L\

Date Signature of person responsible for tits Psport
Name and Title:_ David Weinhoffer, Liquidating Trustee

This report is to be filed with the U.S. Bankruptcy Court quarterly until a final decree is entered. You
may be required to file additional reports with the Bankruptcy Court.

 
